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                        1N THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION


 THE COLEMAN COMPANY, INC.,

                Plaintiff/Counterclaim Defendant,

                v.
                                                        C.A. No: 2:20-cv-351-RGD
 TEAM WORLDWIDE CORPORATION,

                Defendant/Counterclaim Plaintiff,

 and

 CHENG-CHUNG WANG,

                Counterclaim Plaintiff.



       OBJECTIONS/COMMENTARY REGARDING BIFURCATION PROPOSAL

        Pursuant to the Court’s Order at ECF No. 233, Plaintiff/Counterclaim Defendant The

 Coleman Company (“Coleman”) submits the following objections and commentary regarding

 potential bifurcation of the present trial, which is set to be held on July 19, 2022.

        Coleman OPPOSES bifurcation of this trial for the following reasons:

        Coleman submits that bifurcation would create unnecessary time and expense for the

 parties and the Court. It appears that each party will present three to four live witnesses at trial

 (including financial expert witnesses), with designated deposition testimony comprising the

 balance of evidentiary presentations. A non-bifurcated trial on all issues could presumably be

 accomplished within five (5) to six (6) days. In contrast, bifurcation would extend the trial by

 multiple days, including additional time necessary for two independent deliberations by the jury.

 Additionally, two separate jury instructions would need to be negotiated and vetted for each phase

 of the trial—creating additional hurdles for the Court and parties in a bifurcated setting. Coleman

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 accordingly submits that that the added time and expense of a bifurcated trial is not warranted or

 necessary for this case, which involves straight-forward issues of patent infringement, validity,

 and damages.

        Coleman further submits that bifurcation would create unnecessary duplication of

 evidence. If bifurcated, monetary issues would still be addressed by the parties in their case-in-

 chief, at least with respect to allegations of commercial success. Thus, bifurcation of trial would

 not significantly reduce the issues for the jury, but rather create the possibility that evidence

 regarding financial issues would be presented multiple times, once during the liability phase and

 once during the damages phase.

        Coleman further submits that bifurcation could cause jury confusion. The jury would

 understand from the liability phase that the trial involves assertions of patent infringement. Despite

 this, if bifurcated, the jury would not be asked during the liability phase to assign a value to the

 alleged harm caused by the parties’ actions. This creates a disconnect for the jury, allowing for

 jurors to view their role at the liability phase as minimized or as having no potential effect on the

 outcome of the case.

        Finally, Coleman submits that bifurcation is not necessary in view of the nature of the

 disputed issues. As the Court is aware, there are only two patents involved in this case, with issues

 of validity, infringement, and damages potentially to be decided by the jury. Such cases are

 typically tried to a jury in a single proceeding (without bifurcation), and any complexity is

 adequately dealt with through typical jury instructions outlining the jury’s role, law, and issues to

 be decided.




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        In view of the above, Coleman submits that it opposes bifurcation of this case for trial in

 view of the added expense, duplication of issues, and potential juror confusion outlined above.

 Coleman stands ready to provide additional information on this topic at the Court’s request.



 Dated: February 18, 2022.                    Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I hereby certify that on February 18, 2021, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

 all counsel of record.


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